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10

11                            IN THE UNITED STATES DISTRICT COURT
12                          FOR THE EASTERN DISTRICT OF CALIFORNIA
13

14

15   CLARICE SANDERS-HOLLIS,                              2:19-cv-00092-KJM-DB
16                                     Plaintiff, CALIFORNIA DEPARTMENT OF
                                                  SOCIAL SERVICES’ MOTION TO
17               v.                               DISMISS PURSUANT TO FEDERAL
                                                  RULE OF CIVIL PROCEDURE
18                                                RULE (12)(b)(6)
     STATE OF CALIFORNIA, HEALTH AND
19   HUMAN SERVICES AGENCY,                       Date:         November 22, 2019
     DEPARTMENT OF SOCIAL SERVICES;               Time:         10:00 a.m.
20   and DOES 1 through 20, inclusive,            Dept:         3, 15th Floor
                                                  Judge:        The Honorable Kimberly J.
21                                  Defendants.                 Mueller
                                                  Trial Date:   None Set
22                                                Action Filed: 8/20/2018
23                           INTRODUCTION & BACKGROUND FACTS
24         A plausible claim for relief in an employment discrimination case must, at a minimum,

25   “contain a short and plain statement of the claim showing that the pleader is entitled to relief,”

26   including “relevant dates” and “at least some of the relevant persons involved” with the adverse

27   employment action. Swierkiewicz v. Sorema N.A., 534 U.S. 506, 508, 514 (2002) (citation

28   omitted); Morgan v. Napolitano, No. CIV S-09-2649, 2010 WL 3749260, at *5 (E.D. Cal.
                                                  1
                              California Department of Social Services’ Motion to Dismiss (2:19-cv-00092-KJM-DB)
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 1   Sept. 23, 2010). Plaintiff Clarice Sanders-Hollis’ (“Sanders-Hollis”) First Amended Complaint

 2   fails to allege sufficient facts to meet this standard, and therefore fails to state a claim upon which

 3   relief can be granted. Because, it is unclear whether or not Sanders-Hollis exhausted

 4   administrative remedies, what claims are being asserted under Title VII or whether there was

 5   even an adverse action, her First Amended Complaint should once again be dismissed.

 6         First, Sanders-Hollis does not and cannot plead compliance with the administrative

 7   exhaustion requirements for her claims under Title VII of the Civil Rights Act of 1964, 42 U.S.C.

 8   § 2000e et seq., the Age Discrimination in Employment Act (“ADEA”), 29 U.S.C. § 621 et seq.,

 9   or the Fair Employment and Housing Act (“FEHA”), Cal. Gov. Code § 12900 et seq. Sanders-

10   Hollis nakedly asserts she obtained right-to-sue letters from the Department of Fair Employment

11   and Housing and the Equal Employment Opportunity Commission, with no mention in her

12   complaint of when she filed an administrative charge, against whom it was filed, or what

13   unlawful practices were alleged within it. This is plainly insufficient. And, it appears Sanders-

14   Hollis’ failure to plead facts demonstrating compliance with the administrative exhaustion

15   requirements stems from her failure to properly administratively exhaust any of her claims.

16   Because Sanders-Hollis’ time to file a new administrative complaint has long expired, she cannot

17   cure any failure to exhaust her administrative remedies. For this reason, the Court should dismiss

18   Sanders-Hollis’ First Amended Complaint for failure to state a claim upon which relief may be

19   granted under Federal Rule of Civil Procedure 12(b)(6).

20         Moreover, Sanders-Hollis’ First Amended Complaint, in contravention of the Court’s order,

21   is again bereft of any supporting factual allegations. In dismissing Sanders-Hollis’ nine-count

22   complaint against Defendant California Department of Social Services 1 (“DSS”), the Court

23   permitted Sanders-Hollis to “file an amended complaint addressing” the failure to adequately

24   plead any of her claims, “if she is able to while complying fully with Federal Rule of Civil

25   Procedure 11.” ECF No. 18 at 8. Sanders-Hollis’ First Amended Complaint, however, fails to

26   meaningfully comply with the Court’s order. Rather, she again pleads a laundry list of

27
            1
                DSS was erroneously sued herein as the State of California, Health and Human Services
28   Agency.
                                                        2
                              California Department of Social Services’ Motion to Dismiss (2:19-cv-00092-KJM-DB)
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 1   conclusory allegations in support of the same nine causes of action. This is insufficient to meet

 2   the pleading standard under Fed. R. Civ. P. 8(a). Sanders-Hollis’ inadequate allegations, in light

 3   of the Court’s order, also suggest she cannot adequately plead her complaint while complying

 4   with Rule 11. Accordingly, leave to amend would be futile, and Sanders-Hollis’ First Amended

 5   Complaint should therefore be dismissed for failure to state a claim upon which relief may be

 6   granted.

 7                                       PROCEDURAL HISTORY
 8         Sanders-Hollis filed her initial complaint for damages on August 20, 2018, in the

 9   Sacramento County Superior Court. DSS was served via the Office of the Attorney General on

10   December 14, 2018. On January 14, 2019, DSS removed the action to Federal Court under

11   federal question jurisdiction pursuant to Sanders-Hollis’ federal claims under Title VII and the

12   ADEA. DSS timely moved to dismiss the complaint for failure to state a cause of action under

13   Fed. R. Civ. P. 12(b)(6).

14         On September 20, 2019, the Court granted DSS’ Rule 12(b)(6) motion to dismiss, with

15   leave to amend, finding Sanders-Hollis failed to sufficiently plead the elements of any of her

16   claims. Sanders-Hollis, in response, filed her First Amended Complaint. Because Sanders-

17   Hollis’ First Amended Complaint again fails to sufficiently plead facts supporting the elements of

18   any of her claims, and because Sanders-Hollis does not and cannot claim compliance with the

19   administrative exhaustion requirements under state and federal law, DSS again moves to dismiss

20   for failure to state a claim upon which relief can be granted.

21                                       STANDARD OF REVIEW
22         The purpose of a motion to dismiss pursuant to Rule 12(b)(6) is to test the legal sufficiency

23   of the complaint. N. Star Int’l v. Ariz. Corp. Comm’n, 720 F.2d 578, 581 (9th Cir. 1983).

24   “Dismissal can be based on the lack of a cognizable legal theory or the absence of sufficient facts

25   alleged under a cognizable legal theory.” Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699

26   (9th Cir. 1990). A properly pled complaint must provide “a short and plain statement of the claim

27   showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2); Bell Atlantic Corp v.

28   Twombly (Twombly), 550 U.S. 544, 555 (2007). While Rule 8 does not require detailed factual
                                                 3
                              California Department of Social Services’ Motion to Dismiss (2:19-cv-00092-KJM-DB)
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 1   allegations, it demands more than “labels and conclusions” or a “formulaic recitation of the

 2   elements of a cause of action;” it must contain factual allegations sufficient to “raise a right to

 3   relief above the speculative level.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Twombly,

 4   550 U.S. at 555) (emphasis added). Thus, to survive a motion to dismiss, a complaint must

 5   contain sufficient factual matter to “state a claim to relief that is plausible on its face.” Iqbal,

 6   556 U.S. at 678 (internal citations omitted).

 7         In deciding a motion to dismiss, the Supreme Court in Iqbal clarified the two-step approach

 8   district courts are to apply. First, the court must accept as true all well-pled factual allegations in

 9   the complaint; however, legal conclusions are not entitled to any assumption of truth—mere

10   recitals of the elements of a cause of action, supported only by conclusory statements, do not

11   suffice. Iqbal, 556 U.S. at 678-679. Second, the court considers whether the factual allegations

12   in the complaint allege a plausible claim for relief. See id. at 679. A claim is facially plausible

13   when the allegations of fact allow the court to draw a reasonable inference that the defendant is

14   liable for the misconduct alleged. See id. at 678. The complaint must be dismissed where the

15   claims pled do not cross the line from conceivable to plausible. Twombly, 550 U.S. at 570.

16                                                ARGUMENT
17   I.    SANDERS-HOLLIS CANNOT AMEND HER COMPLAINT TO DEMONSTRATE
           COMPLIANCE WITH THE ADMINISTRATIVE EXHAUSTION REQUIREMENTS.
18
           A.    Sanders-Hollis Fails to Plead Facts Showing She Exhausted Her
19               Administrative Remedies Under State or Federal Law.
20         Sanders-Hollis’ causes of action under Title VII, the ADEA, and FEHA must be dismissed

21   due to her failure to plead facts establishing she exhausted her administrative remedies.

22   Compliance with the administrative process is a prerequisite to the Court’s jurisdiction over

23   a Title VII claim. Vasquez v. County of Los Angeles, 349 F.3d 634, 644 (9th Cir. 2004).

24   Similarly, prior to filing a civil action under the ADEA, an aggrieved party must first exhaust

25   administrative remedies. 29 U.S.C. § 626(d). And under FEHA,” exhaustion of administrative

26   remedies is a jurisdictional prerequisite to resort to the courts.” Johnson v. City of Loma Linda,

27   24 Cal. 4th 61, 70 (2000) (citation omitted).

28   ///
                                                         4
                               California Department of Social Services’ Motion to Dismiss (2:19-cv-00092-KJM-DB)
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 1         Exhaustion requires the timely filing of a written charge with the proper administrative

 2   agency. In order to exhaust her administrative remedies, Sanders-Hollis was required to have

 3   filed a charge with EEOC within 300 days of the alleged violations of Title VII and the ADEA,

 4   and within one year of the alleged violations of FEHA. See 29 U.S.C. § 626(d)(1)(B); 42 U.S.C.

 5   § 2000e-5; Cal. Gov. Code § 12960(d). Rodriguez v. Airborne Express, 265 F.3d 890, 896

 6   (9th Cir. 2001). The failure to file a timely charge identifying the alleged discrimination bars

 7   a subsequent lawsuit for discrimination. See 29 U.S.C. § 626(d); Vasquez, 349 F.3d at 644; City

 8   of Loma Linda, 24 Cal. 4th at 70.

 9         “While Plaintiff’s burden in claiming compliance [with the administrative exhaustion

10   requirements] is minimal at the pleading stage, he must still provide a factual basis for his claim,

11   including when his complaint was filed, a reference to the allegations contained therein, and the

12   date he received a right-to-sue letter.” Mock v. California Dep’t of Corr. & Rehab., No. 1:15-

13   CV-01104-MJS, 2015 WL 5604394, at *7 (E.D. Cal. Sept. 23, 2015).

14         Sanders-Hollis alleges she “received Right to Sue letters from the California Department of

15   Fair Housing and Employment and U.S. Equal Employment Opportunity Commission and has

16   thus exhausted all necessary administrative remedies.” First Amended Complaint, ¶ 24. Sanders-

17   Hollis, however, fails to plead when her charge was filed, against whom it was filed, what

18   unlawful practices she alleged in her charge, or when she received her right-to-sue letter. The

19   only factual assertion she makes in support of her legal conclusion that she “exhausted all

20   necessary administrative remedies” is that she “received Right to Sue letters from the California

21   Department of Fair Housing and Employment and U.S. Equal Employment Opportunity

22   Commission . . . .” Id. Without pleading even these general facts, Sanders-Hollis has failed to

23   meet her burden of claiming compliance with the administrative exhaustion requirements. See

24   Mock, 2015 WL 5604394, at *7 (granting motion to dismiss FEHA claims for failure to plead

25   compliance with administrative exhaustion requirement when plaintiff alleged he filed a DFEH

26   charge and received a right-to-sue letter in connection with allegations in the charge, and

27   provided the assigned DFEH matter number); see also Kennedy v. Kings Mosquito Abatement

28   Dist., No. 1:12-CV-1458, 2013 WL 1129202, at *14 (E.D. Cal. Mar. 18, 2013) (“Plaintiff’s
                                                 5
                              California Department of Social Services’ Motion to Dismiss (2:19-cv-00092-KJM-DB)
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 1   conclusory assertion that he has satisfied all requirements of administrative exhaustion fails to

 2   meet the pleading standard necessary to establish the court’s subject matter jurisdiction over the

 3   claim.”).

 4         Accordingly, the allegations in Sanders-Hollis’ First Amended Complaint fail to

 5   demonstrate she exhausted her administrative remedies as to each of the claims alleged in her

 6   First Amended complaint.

 7         B.    Because Sanders-Hollis Cannot Cure Her Failure to Allege Compliance
                 with the Administrative Exhaustion Requirements, Her Claims Should Be
 8               Dismissed with Prejudice.
 9         Sanders-Hollis appears to have filed two separate complaints with DFEH, one on July 25,

10   2016, and one on August 20, 2018. (See Request for Judicial Notice filed herewith.) She

11   received a right-to-sue notice for each administrative complaint. Neither right-to-sue letter,

12   however, can act as the basis for her conclusion that she exhausted her administrative remedies.

13         The purpose of the administrative exhaustion requirement is to ensure the investigating

14   agency is provided the opportunity to resolve disputes and eliminate unlawful employment

15   practices through conciliation. Wills v. Superior Court, 195 Cal. App. 4th 143, 156 (2011). The

16   United States Supreme Court has cautioned against ensnaring claimants through technicalities “in

17   a statutory scheme [such as Title VII] in which laymen, unassisted by trained lawyers, initiate the

18   process.” Love v. Pullman Co., 404 U.S. 522, 527 (1972). The requirement of specificity in an

19   administrative complaint, however, is not a mere technicality. Rush v. McDonald’s Corp.,

20   966 F.2d 1104, 1111 (7th Cir. 1992) (Title VII); see also Martin v. Lockheed Missiles & Space

21   Co., 29 Cal. App. 4th 1718, 1724 (1994) (“To exhaust his or her administrative remedies as to

22   a particular act made unlawful by the Fair Employment and Housing Act, the claimant must

23   specify that act in the administrative complaint.”). California law “requires that a DFEH

24   complaint include the following: (1) a description of the alleged act or acts of discrimination,

25   harassment, or retaliation; (2) the date or dates of each alleged act of discrimination, harassment,

26   or retaliation; and (3) each protected basis upon which the alleged discrimination or harassment

27   was based.” Achal v. Gate Gourmet, Inc., 114 F. Supp. 3d 781, 794 (N.D. Cal. 2015). These

28   requirements persist, even if the plaintiff requests an immediate right-to sue notice. See 2 C.C.R.
                                                        6
                              California Department of Social Services’ Motion to Dismiss (2:19-cv-00092-KJM-DB)
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 1   § 10005(d) (providing that “an aggrieved person shall file a right-to-sue complaint with the

 2   department containing[,]” inter alia, a description of the alleged acts of discrimination,

 3   harassment, or retaliation, and dates for each act alleged) (emphasis added).

 4         Sanders-Hollis’ August 20, 2018, DFEH complaint (Request for Judicial Notice, Exh. C)

 5   fails to meaningfully provide any of this information. Rather, Sanders-Hollis’ DFEH complaint

 6   is a recitation of legal conclusions, none of which identify a specific instance of wrongdoing,

 7   provide any dates 2 of any alleged acts of wrongdoing, or provide any specificity as to the

 8   protected bases of any of Sanders-Hollis’ claims. Id. Such a list of generalized grievances,

 9   masquerading as factual assertions, cannot suffice to permit either the employer or the responsible

10   administrative agency an opportunity to investigate the allegations and attempt to resolve the

11   dispute. Because all of Sanders-Hollis’ claims originate from her August 20, 2018, DFEH

12   complaint and the concurrently issued right-to-sue notice, and because Sanders-Hollis’ judicial

13   complaint is limited to the scope of her DFEH complaint, 3 the lack of any specificity in her

14   August 20, 2018 DFEH complaint dooms her judicial complaint for failure to exhaust her

15   administrative remedies.

16         To the extent Sanders-Hollis relies on the allegations made in her July 25, 2016, DFEH

17   complaint, that argument must also fail, particularly as to any disability based claims as there are

18   no allegations regarding disability or failure to accommodate disability.

19         Finally, Sanders-Hollis left her employment with DSS on January 8, 2018, and transferred

20   to another state agency. RJN, Exh. G. Accordingly, her time to file a new DFEH charge, under

21   either FEHA or federal law, has also long expired. See 29 U.S.C. § 626(d)(1)(B) (300 days from

22
           2
23           Sanders-Hollis alleges in her DFEH complaint that all of DSS’ adverse actions took place
     “on or about August 20, 2018[,]” the same date Sanders-Hollis filed the DFEH complaint. RJN,
24   Exh. C. This does not meaningfully comply with the requirement to provide “the date or dates of
     each alleged act of discrimination, harassment, or retaliation.” Achal, 114 F. Supp. 3d at 794.
25         3
             “The administrative exhaustion requirement is satisfied if the allegations of the civil
26   action are within the scope of the EEOC charge, any EEOC investigation actually completed, or
     any investigation that might reasonably have been expected to grow out of the charge.” Nazir v.
27   United Airlines, Inc., 178 Cal. App. 4th 243, 266 (2009). But, because Sanders-Hollis requested
     an immediate Right to Sue notice, DFEH did not investigate her complaint. RJN, Exh. D. Thus,
28   the scope of Sanders-Hollis’ judicial complaint is limited to the scope of her EEOC charge.
                                                      7
                              California Department of Social Services’ Motion to Dismiss (2:19-cv-00092-KJM-DB)
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 1   the date of alleged unlawful conduct, under the ADEA); 42 U.S.C. § 2000e-5 (300 days, under

 2   Title VII); Cal. Gov. Code § 12960(d) (1 year, under FEHA). She cannot now file a new DFEH

 3   complaint and seek leave to amend her judicial complaint based on any new administrative

 4   complaint. Dismissal with prejudice is therefore proper as to any claims not properly exhausted,

 5   such as the disability claims under the FEHA.

 6   II.   EACH ONE OF THE NINE CAUSES OF ACTION CONTAINED IN SANDERS-HOLLIS’
           COMPLAINT FAILS TO ALLEGE ANY FACTS WHICH DEMONSTRATE A PLAUSIBLE
 7         CLAIM FOR RELIEF.
 8         “An employment discrimination complaint . . . need not contain specific facts establishing

 9   a prima facie case, but instead must only contain a short and plain statement of the claim showing

10   that the pleader is entitled to relief.” Swierkiewicz v. Sorema N.A., 534 U.S. 506, 514 (2002)

11   (quotation marks omitted). A description of “the events leading to [an adverse employment

12   action], provid[ing] relevant dates, and includ[ing] the [protected class] . . . of at least some of the

13   persons involved” in the discrimination claim is sufficient to satisfy a plaintiff's obligation to state

14   a claim for relief. Id. In this case, there are no factual allegations indicating an adverse action

15   occurred, who was responsible for it, when it occurred, whether the allegations are exhausted or

16   any other fact from which Defendant can investigate Plaintiff’s claims and identify witnesses.

17   Nor are there any facts from which to infer causation.

18          “Blanket, general allegations are not sufficient to allege facts from which the court can

19   infer causation.” Napolitano, 2010 WL 3749260, at *6. Courts have consistently dismissed

20   employment discrimination claims bereft of relevant dates, facts identifying at least some of the

21   relevant persons involved in the adverse employment action, locations, or specific incidents as

22   failing to state a claim upon which relief can be granted. See, e.g., Johnson v. United Cont’l

23   Holdings, Inc., No. C-12-2730, 2013 WL 1758760, at *6 (N.D. Cal. Apr. 24, 2013) (dismissing

24   plaintiffs’ retaliation claims under FEHA, in part, because “plaintiffs fail to provide any dates or

25   other facts to support a finding that the position became or remained open after plaintiffs had

26   engaged in protected activity”); O’Donnell v. U.S. Bancorp Equip. Fin., Inc., No. C10-0941, 2010

27   WL 2198203, at *3 (N.D. Cal. May 28, 2010) (dismissing FEHA sex discrimination claims

28   “because [plaintiff] has not alleged any dates in her complaint”); see also Lavery-Petrash v.
                                                       8
                              California Department of Social Services’ Motion to Dismiss (2:19-cv-00092-KJM-DB)
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 1   Sierra Nevada Mem’l Hosp., No. 2:11-CV-1520, 2014 WL 334218, at *7 (E.D. Cal. Jan. 29,

 2   2014) (dismissing negligence claim in the employment context because the complaint “fail[ed] to

 3   identify any applicable dates, names, locations, incidents, etc., in support . . . .”).

 4         Here, Sanders-Hollis’ allegations do not amount to anything more than blanket, conclusory

 5   statements. Sanders-Hollis claims DSS subjected her to a hostile work environment, but fails to

 6   identify when or where the alleged harassment occurred, who harassed her, or how long the

 7   alleged harassment persisted. See First Amended Complaint, ¶ 7. She then alleges her supervisor

 8   subjected her to a number of “adverse actions,” but fails to plead any specific facts in support. Id.

 9   at ¶ 8. She claims she “informed Defendant’s management and its EEO office” that she was

10   disabled, and requested a transfer, but the transfer was denied. Id. at ¶¶ 9-13. She does not

11   specify whom she notified, when she asked for accommodation, what her disability was or is, or

12   provide any other specific facts in support. Finally, Sanders-Hollis claims that, after she notified

13   DSS, she was subjected to a number of “adverse actions.” Id. at ¶ 14-16. Again, none of these

14   allegations are accompanied by any identifying facts. Sanders-Hollis’ remaining allegations

15   amount to nothing more than a series of legal conclusions.

16         Accordingly, Sanders-Hollis’ First Amended Complaint plainly does not provide DSS with

17   fair notice of her claims and the grounds upon which they rest. Without any factual assertions of

18   the relevant dates, actors, locations, or incidents underlying each of Sanders-Hollis’ claims, DSS

19   is left to guess what misconduct Sanders-Hollis alleges gives rise to each of her claims, who

20   engaged in the misconduct, when the misconduct occurred, or whether the claims were

21   administratively exhausted. As a practical matter, DSS cannot investigate the basis of Sanders-

22   Hollis’ claims, determine defenses, or determine who the witnesses are, absent this basic factual

23   information. Sanders-Hollis’ claims, based on the scant facts alleged in her First Amended

24   Complaint, are not facially plausible, and therefore fail to meet the pleading standard in federal

25   court. See Twombly, 550 U.S. at 556 (“A claim has facial plausibility when the plaintiff pleads

26   sufficient factual content that allows the court to draw the reasonable inference that the defendant

27   is liable for the misconduct alleged.”).

28   ///
                                                         9
                               California Department of Social Services’ Motion to Dismiss (2:19-cv-00092-KJM-DB)
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 1         In dismissing Sanders-Hollis’ original complaint against DSS, the Court permitted Sanders-

 2   Hollis to “file an amended complaint addressing” the failure to adequately plead any of her

 3   claims, “if she is able to while complying fully with Federal Rule of Civil Procedure 11.” ECF

 4   No. 18 at 8. Sanders-Hollis’ First Amended Complaint does not address her failure to adequately

 5   plead any of her claims. Because her failure to do so indicates Sanders-Hollis cannot

 6   simultaneously comply with Rule 11 and amend her complaint to state a claim upon which relief

 7   can be granted, dismissal of the complaint with prejudice is proper.

 8                                                  CONCLUSION
 9         Sanders-Hollis is required to plead facts, which, if taken as true, would demonstrate

10   entitlement to relief, including facts demonstrating compliance with the administrative exhaustion

11   requirement. Because Sanders-Hollis does not and cannot allege facts sufficient to support any of

12   her claims, dismissal is once again proper under Federal Rule of Civil Procedure 12(b)(6) for

13   failure to state a claim upon which relief may be granted.

14   Dated: October 21, 2019                                   Respectfully submitted,
15                                                             XAVIER BECERRA
                                                               Attorney General of California
16                                                             PETER D. HALLORAN
                                                               Supervising Deputy Attorney General
17

18
                                                               /s/ Cori R. Sarno
19

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21                                                             Attorneys for Defendant
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22                                                             (erroneously sued as the State of California
                                                               and the Health and Human Services Agency)
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                                California Department of Social Services’ Motion to Dismiss (2:19-cv-00092-KJM-DB)
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                               CERTIFICATE OF SERVICE
Case Name:        Clarice Sanders-Hollis v. State         No.    2:19-cv-00092-KJM-DB
                  of California, Health and
                  Human Services Agency,
                  Department of Social Services

I hereby certify that on October 21, 2019, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
CALIFORNIA DEPARTMENT OF SOCIAL SERVICES’ MOTION TO DISMISS
PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE RULE (12)(b)(6)
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on October 21, 2019, at Sacramento,
California.


            Marianne Baschiera                               /s/ Marianne Baschiera
                Declarant                                           Signature

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